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                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   9     WAYMO LLC,                                          Case No. 17-cv-00939-WHA
                                  10                    Plaintiff,
                                                                                             ORDER DENYING PRO HAC VICE
                                  11              v.                                         APPLICATION
                                  12     UBER TECHNOLOGIES, INC., et al.,                    Re: Dkt. No. 2714
Northern District of California
 United States District Court




                                  13                    Defendants.

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                                  15          The pro hac vice application of Attorney David J. Bradford Re: Dkt. No. 2714 is Denied

                                  16   for failing to comply with Civil Local Rule 11-3. That rule requires an applicant to certify that “he

                                  17   or she is an active member in good standing of the bar of a United States Court or of the highest

                                  18   court of another State or the District of Columbia, specifying such bar” (emphasis added). Filling

                                  19   out the pro hac vice form from the district court website such that it identifies only the state of bar

                                  20   membership — e.g., “the bar of Illinois” — is inadequate under the rule because it fails to identify

                                  21   a specific court. While the application fee does not need to be paid again, the application cannot

                                  22   be processed until a corrected form is submitted.

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                                  24          IT IS SO ORDERED.

                                  25   Dated: October 5, 2020

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                                                                                                      WILLIAM ALSUP
                                  28                                                                  United States District Judge
